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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CLIFFSTAR CORPORATION,                )
                                      )
             Plaintiff,               )
                                      )   Case No. 09-CV-3867
     v.                               )   Hon. Legrome D. Davis
                                      )
AJINOMOTO COMPANY, ET AL.,            )
                                      )
             Defendants.              )
                                      )




          MEMORANDUM IN SUPPORT OF CERTAIN DEFENDANTS’
           MOTION TO STAY PENDING RESOLUTION OF APPEAL
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                                           INTRODUCTION

        Almost a year and a half ago, this Court granted summary judgment to the defendants in

In re Aspartame Antitrust Litigation, ruling that the plaintiffs’ claims in that action were barred

by the applicable statute of limitations and that plaintiffs had not met their burden of proving

fraudulent concealment. After losing their motion for reconsideration, the Aspartame plaintiffs

appealed to the Court of Appeals for the Third Circuit. A year later, while that appeal remained

pending, a new putative class plaintiff (represented by the same counsel who represent the

Aspartame plaintiffs) filed the instant action, alleging the very same purported conspiracy

against virtually the same defendants.1 Now, despite the pendency of an appeal that will address

a critical issue in this case—namely, the viability of any claim of fraudulent concealment—

plaintiff is pushing to move forward with the Cliffstar case and thereby force these defendants

(and the Court) to again invest substantial time, money, and effort in litigating duplicative

claims.2




1
        Plaintiff also has named as defendants Koninklijke DSM N.V. and Tosoh Corporation—the joint
venture parent companies of Holland Sweetener Company V.O.F. and Holland Sweetener North America,
Inc. (both of whom ceased operations in 2006)—despite the fact that neither company manufactured
aspartame or sold or distributed it in the U.S. during the relevant period. Similarly, although plaintiff has
used different corporate names for two of the Ajinomoto entities (Ajinomoto Sweeteners Europe S.A.S. is
the successor to Ajinomoto Euro-Aspartame S.A. and Ajinomoto Switzerland A.G. is the successor to
NutraSweet A.G.), the practical effect is that plaintiff has named the same five Ajinomoto entities in its
complaint as were named in the Aspartame complaint.
2
        As the Aspartame defendants’ costs petitions indicate, this is no small undertaking. See The
NutraSweet Company’s Bill of Costs and Incorporated Memorandum in Support, filed Feb. 17, 2009
(Dkt. 198) (seeking $215,540.53 in reimbursable costs, exclusive of attorneys’ fees); Holland Sweetener
Company V.O.F.’s and Holland Sweetener North America, Inc.’s Bill of Costs and Incorporated
Memorandum in Support, filed Feb. 17, 2009 (Dkt. 197) (seeking $195,398.82 in reimbursable costs,
exclusive of attorneys’ fees); Ajinomoto Co. Inc., Ajinomoto Food Ingredients LLC, Ajinomoto
Sweeteners Europe S.A.S., and Ajinomoto Switzerland A.G.’s Bill of Costs and Incorporated
Memorandum in Support, filed February 17, 2009 (Dkt. 195) (seeking $165,120.73 in reimbursable costs,
exclusive of attorneys’ fees).



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        Although defendants want to resolve the instant case expeditiously, it simply does not

make sense for the parties and the Court to expend the enormous resources necessary to address

the Cliffstar action while the Aspartame appeal is pending. This is especially true given that

plaintiff will suffer no harm if a stay issues. Plaintiff does not seek injunctive relief, and the

purported conspiracy ended nearly a decade ago.           Accordingly, this Court should stay the

Cliffstar proceedings pending resolution of Aspartame.

                                   FACTUAL BACKGROUND

        On or about April 25, 2006, various plaintiffs filed a series of putative class action

complaints alleging that certain current and former manufacturers of aspartame, an artificial

sweetener, had engaged in a “worldwide, horizontal antitrust conspiracy with the purpose of

allocating the market for Aspartame and setting an artificially high price for the sweetener in

violation of Section 1 of the Sherman Antitrust Act.” August 11, 2008 Order, In re Aspartame

Antitrust Litigation, Case No. 2:06-CV-1732 (“Aug. 11 Order”) (Dkt. 178), at 1-2. Those cases

were consolidated before this Court as In re Aspartame Antitrust Litigation, Case No. 2:06-CV-

1732.

        On August 11, 2008, this Court granted the Aspartame defendants’ motion for summary

judgment, finding that (a) the four-year statute of limitations on the plaintiffs’ claims had run,

and (b) plaintiffs were not entitled to the tolling of the statute of limitations under the doctrine of

fraudulent concealment. Specifically, the Court found that:

    • plaintiffs’ perception of both allegedly inflated aspartame prices and lack of meaningful

        competition among the aspartame producers during the relevant period,

    • the existence of a 1993 Harvard Business School Study entitled “Bitter Competition: The

        Holland Sweetener Company versus NutraSweet” (the “Harvard Study”) (from which

        many of the Aspartame plaintiffs’ allegations were derived), and

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    • the filing of several anti-dumping complaints by Holland Sweetener Company V.O.F.

        against NutraSweet and Ajinomoto in Europe and NutraSweet in Canada in the early

        1990’s (the “HSC Anti-Dumping Complaints”)

were sufficient “storm warnings” to trigger plaintiffs’ due diligence obligations. Aug. 11 Order

at 12-13. And, having “taken no steps or actions to investigate their claims” in the wake of those

events, plaintiffs were precluded from invoking the equitable doctrine of fraudulent concealment.

Id. at 13. The Court went on to find that the absence of any allegations (or evidence) of when

plaintiffs first became aware of the existence of their claims—a critical element in a statute of

limitations/fraudulent concealment analysis—was a “fundamental flaw” in plaintiffs’ case.

       Plaintiffs sought reconsideration of that ruling, and subsequently notified the Court of

their intent to submit “newly discovered evidence” supporting their allegations of fraudulent

concealment. See Letter from D. Nast to the Hon. Legrome D. Davis, dated Oct. 21, 2008

(attached as Ex. A). Apparently realizing that whatever they had recently “discovered” could not

save their fraudulent concealment claims, however, plaintiffs never submitted any additional

evidence and this Court ultimately denied the motion for reconsideration. See Order, dated Jan.

21, 2009 (Aspartame Dkt. 194). On February 19, 2009, the Aspartame plaintiffs filed a notice of

appeal with the Third Circuit. See Aspartame Dkt. 199. That appeal remains pending.

       Which brings us to the present action. On August 25, 2009, more than a year after this

Court granted the Aspartame defendants’ summary judgment motion, the same counsel who

represent the plaintiffs in the Aspartame litigation filed the instant complaint.       Like the

Aspartame complaint, the plaintiff here alleges a “worldwide” conspiracy among defendants to

“allocate” the Aspartame “market” and “artificially raise, fix, maintain, and/or stabilize the

prices of aspartame … in violation of Section 1 of the Sherman Act.” Compl. ¶¶ 77-78. Indeed,



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the bulk of the Cliffstar complaint is identical to the Aspartame complaint.3 But, in an obvious

attempt to plead around their summary judgment loss in the Aspartame case, plaintiff’s counsel

here omitted any reference to the Holland Sweetener Defendants’ early 1990’s complaints

against NutraSweet and Ajinomoto and removed all allegations that had previously been taken

almost verbatim from the 1993 Harvard Study. See, e.g., Aspartame Compl. ¶¶ 45, 53 (stricken

from Cliffstar complaint). In their place, plaintiff makes a series of new allegations about the

defendants’ alleged conspiratorial conduct and claims that this “substantial additional evidence”

addresses any “deficiency” in plaintiff’s fraudulent concealment argument. Cliffstar Compl. ¶ 1.

                                             ARGUMENT

        The power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the cases on its docket with the economy of time and effort for itself,

counsel, and the litigants. See Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); see also Cirulli v.

Bausch & Lomb, Inc., No. 08-4579, 2009 WL 545572, at *2 (E.D. Pa. Mar. 4, 2009) (Stengel, J.)

(same) (quoting Cheney State Coll. Faculty v. Hufstedler, 703 F.2d 732, 737 (3d Cir. 1983)

(quoting Landis)); Chartener v. Provident Mut. Life Ins. Co., No. 02-8045, 2003 WL 22518526,

at *1 (E.D. Pa. Oct. 22, 2003) (Baylson, J.) (“A district court has broad discretionary power to

stay proceedings.”). Exercising that power, courts—in this district and elsewhere—routinely

stay actions pending resolution of appeals in similar or related actions. See, e.g., SmithKline

Beecham Corp. v. Apotex Corp., No. 99-2929, 2004 WL 1615307 (E.D. Pa. July 16, 2004)

(Surrick, J.) (granting a temporary stay of proceedings pending resolution of appeal of issues that

would potentially be dispositive in the later-filed case); Fagan v. Republic of Austria, No. 08-

3
         Plaintiff’s counsel acknowledged as much in letters to defense counsel dated December 14, 2009,
saying that “the Cliffstar complaint involves many of the same claims, facts, issues, parties and attorneys
as the still pending In re Aspartame Antitrust Litig., matter.” See Ex. B (attached).



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6715, 2009 WL 1423338 (S.D.N.Y. May 19, 2009) (granting a stay pending resolution of appeal

where a “number of claims in the complaint are intimately connected to claims currently on

appeal”); Carroll v. Willson McColl & Rasmussen, No. 08-22, 2009 WL 315610 (D. Idaho Feb.

9, 2009) (granting stay of later-filed proceedings pending appeal of summary judgment decision

in related action); Asis Internet Servs. v. Member Source Media, LLC, No. 08-1321, 2008 WL

4164822 (N.D. Cal. Sept. 8, 2008) (granting stay of later-filed action pending resolution of

appeal of a controlling issue of law). This case should be no different.4

        In deciding whether to grant a stay pending appeal (or any other related action), courts

generally consider three factors: (1) the promotion of judicial economy; (2) the balance of the

harm to the parties; and (3) the duration of the requested stay. Cirulli, 2009 WL 545572, at *2.

Here, all three factors weigh heavily in favor of a stay.

        First, this Court’s interest in judicial economy is clearly served by staying this action

until the Aspartame appeal is resolved as a ruling in that appeal could significantly streamline

this case, and even potentially dispose of it. SmithKline, 2004 WL 1615307, at *7 (stay is

appropriate where resolution of appeal will simplify and/or resolve issues in the trial court). On

4
         Although defendants will reserve their arguments in favor of dismissal until such time as they are
required to respond to plaintiff’s complaint (by stipulation defendants’ response date is currently February
26, 2010), defendants note that in addition to the discretion to stay the instant action pending resolution of
the Aspartame appeal, it may be that the Court also can dismiss the instant action under the “prior
pending action doctrine.” Berger v. Weinstein, No. 08-4059, 2008 WL 4858318, at * 2 (E.D. Pa. Nov. 10,
2008) (“‘For an action to be deemed duplicative [and therefore subject to dismissal], there must be the
same parties, or at least such as represent the same interest; there must be the same rights asserted and the
same relief prayed for; the relief must be founded upon the same facts; and the essential basis of the relief
sought must be the same.’”) (quoting Tara M. v. City of Phila., No. 97-1041, 1998 WL 464910, at *2
(E.D. Pa. Aug. 6, 1998)). Here, plaintiff claims to represent a subset of the class purportedly represented
by the plaintiffs in the Aspartame case (a class that includes Cliffstar). In both cases, the defendants are
virtually the same, the same rights have been asserted, the same relief prayed for, the same counsel
represent all plaintiffs, and, as noted above, the complaints are virtually identical. As the Third Circuit
has made clear, “[a plaintiff] ha[s] no right to maintain two separate actions involving the same subject
matter at the same time in the same court and against the same defendant.” Walton v. Eaton Corp., 563
F.2d 66, 70 (3d Cir. 1977).



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appeal, the Third Circuit will address this Court’s August 11 ruling on the issue of fraudulent

concealment. Specifically, the appellate court is expected to address whether this Court erred

when it found that purported high prices and a purported absence of meaningful competition—

both of which have also been alleged in the Cliffstar complaint—“provide[d] some warning to

plaintiffs of the possible existence of their claims.” Aug. 11 Order at 12. Likewise, the appellate

court will consider whether the 1993 Harvard Study and the HSC Anti-Dumping Complaints—

both of which were in the public domain and therefore not exclusively known by the Aspartame

plaintiffs5—were sufficient “storm warnings” to trigger plaintiffs’ duty to investigate their

claims. Aug. 11 Order at 12-13. If the Court of Appeals affirms these findings, plaintiff here

will be hard-pressed to argue that it, too, should not have been on notice of, and thus begun

investigating, its potential claims back in the early 1990’s when that information became

available. Such a decision would prune away many, if not all, of the class claims in this case,

allowing the parties and the Court to focus on what, if anything, is left to be decided. Should the

Third Circuit reverse this Court’s decision, this Court would be faced with two class actions

making the same allegations against virtually the same defendants and seeking to represent the

same group of plaintiffs. Staying the instant action until such time as the two cases can proceed

in a coordinated fashion would conserve judicial resources, avoid needless duplication of

5
          Plaintiff cannot pretend that the Harvard Study and the HSC Anti-Dumping Complaints do not
exist simply by modifying their complaint to remove any reference to them. While plaintiff may hope
that this tactic may be enough to get Cliffstar past a motion to dismiss, in reality this Court may take
judicial notice of those documents. See, e.g., Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,
322 (2007) (in deciding a motion to dismiss, the court may consider matters of which a court may take
judicial notice); Spruill v. Gillis, 372 F.3d 218, 223 (3d Cir. 2004) (a “defendant may submit an
indisputably authentic [document] to the court to be considered on a motion to dismiss[.]”); Magnum v.
Archdiocese of Philadelphia, 2006 WL 3359642, at *9 n. 11 (courts may consider items subject to
judicial notice and matters of public record, including information available on verifiable websites, when
evaluating motion to dismiss) (citations omitted)). But, in any event, it certainly would not be enough for
it to get past summary judgment, and it makes little sense for the parties to engage in costly and laborious
discovery if plaintiff’s claims are doomed from the outset.



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discovery, and provide this Court with the benefit of the Court of Appeals’ analysis of plaintiffs’

fraudulent concealment claims. Bechtel Corp. v. Local 215, 544 F.2d 1207, 1215 (3d Cir. 1976)

(“In the exercise of its sound discretion, a court may hold one lawsuit in abeyance to abide the

outcome of another which may substantially affect it or be dispositive of the issues.”);

Dimensional Music Publishing, LLC v. Kersey, 448 F.Supp. 2d 643, 656 (E.D. Pa. 2006)

(Dubois, J.) (same) (citing Bechtel).

       Second, plaintiff cannot credibly claim that it will be harmed by a stay. To the contrary,

the only harm that will occur will be if a stay is not granted and defendants are forced to defend

against these duplicative claims without definitive guidance from the Third Circuit. Cliffstar’s

own actions demonstrate that it is in no rush:        it waited almost four years after the first

aspartame-related action was filed and over a year after this Court’s summary judgment decision

to file this action. No depositions are scheduled, no discovery is pending; plaintiff has not even

served all defendants. Moreover, plaintiff here is not alleging an on-going conspiracy or seeking

injunctive relief to prevent future injury. Rather, plaintiff’s claims are limited to treble damages

for injuries it professes to have suffered during the period January 1, 1992 through December 31,

2003. Compl. ¶ 2. Those injuries, if any, are fixed in time and will not increase if plaintiff is

made to wait a bit longer. In short, a stay of these proceedings will merely postpone briefing and

discovery that may never be needed—something that benefits everyone involved.

       Finally, the length of stay defendants seek is limited. The parties have engaged in the

Court of Appeals’ mandatory mediation procedures and defendants expect the court shortly to set

a briefing schedule for the appeal. After the Third Circuit rules on the issues in Aspartame, the

parties can return to this Court and seek appropriate guidance on how best to proceed.

Moreover, if the Court wishes to guard against a lengthy stay, the parties can report to the Court

on a periodic basis as to the progress of the appeals process. SmithKline, 2004 WL 1615307, at

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*9 (concerns regarding a lengthy stay “can be lessened” by imposing periodic status reports to

the court). Where, as here, the requested stay is of “moderate length, and not [] of indefinite

duration,” a stay is appropriate. Cheyney, 703 F.2d at 738 (citing Landis, 299 U.S. at 257).

                                         CONCLUSION

       It would be a gross misuse of this Court’s time and the parties’ resources for this case to

proceed while the Aspartame appeal is pending, as judicial and party resources will be wasted

briefing and deciding issues that may ultimately be mooted or otherwise impacted by the

appellate decision. Given that plaintiff will not be harmed during the time the matter is before

the Court of Appeals, defendants respectfully request that the Court enter an Order staying this

action until resolution of the appeal in the Aspartame case.

 Dated: January 222010                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I, Lathrop B. Nelson, III, hereby certify that on January 22, 2010, I caused a true and
correct copy of the foregoing MEMORANDUM IN SUPPORT OF CERTAIN
DEFENDANTS’ MOTION TO STAY PENDING RESOLUTION OF APPEAL, to be filed
and served electronically via the court’s CM/ECF system. Notice of this filing will be sent by e-
mail to all parties by operation of the court’s electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the court’s CM/ECF System.


                                              /s/ Lathrop B. Nelson, III___________




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